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                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                            Case No.: BK-18-14846-JDL
JUDITH DARLENE SNOW,                                        Chapter 13

       DEBTOR.


   RESPONSE TO MOTION FOR DETERMINATION OF FEES. EXPENSES, OR
 CHARGES PURUSANT TO RULE 3002.1(E) AND BRIEF IN SUPPORT AND NOTICE
           OF OPPORTUNITY OF HEARING FILED BY DEBTOR

       Comes now the secured creditor, QUICKEN LOANS INC., by their attorney, Matthew J.

Hudspeth, and responds to MOTION FOR DETERMINATION OF FEES. EXPENSES, OR

CHARGES PURUSANT TO RULE 3002.1(E) AND BRIEF IN SUPPORT AND NOTICE OF

OPPORTUNITY OF HEARING FILED BY DEBTOR filed by the Debtor on February 1, 2019:

       1.      QUICKEN LOANS INC. is the holder of a note, which note is secured by a

mortgage on the Debtor’s residence (the “Property").      The note currently has a total outstanding

balance of $69,168.99 (as reflected by Proof of Claim 1 herein), plus accruing interest along with

reasonable attorney fees and for all costs incurred by Creditor.

       2.      Debtor objects to the undersigned charging a fee of $150.00 to review Debtor’s

Plan herein. Contrary to Debtor’s assertion that “[i]t is a relatively simple matter for a secured

lender to ensure it is provided for in the debtor’s plan”, there is more involved than merely

looking at debtor’s plan to see if Creditor is listed, as Debtor would lead the Court to believe.

Below is a summary of actions taken to process a review of a bankruptcy plan referral:
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                      Event                          Date Completed                  Comment
 Referral Received (Plan Review)                       11/26/2018
 Compile Documentation for Plan Review                11/27/2018 –      Ensure copies of current docket
                                                       12/10/2018       from bankruptcy case, bankruptcy
                                                                        petition, bankruptcy plan and filed
                                                                        Proof of Claim are available for
                                                                        review and comparison
 Review current docket from bankruptcy case             12/11/2018      Ensure no other attorneys have
                                                                        appeared on behalf of Creditor we
                                                                        represent
 Review bankruptcy petition                             12/11/2018      To determine that property
                                                                        covered by Creditor’s note and
                                                                        mortgage are properly scheduled
                                                                        and valuation of property as
                                                                        determined by debtor
 Compare bankruptcy plan to filed Proof of              12/11/2018      Determine if Debtor has provided
 Claim                                                                  for correct treatment of Creditor’s
                                                                        claim, i.e. Debtor has provided for
                                                                        correct ongoing mortgage
                                                                        payment, arrearage, total debt and
                                                                        interest rate and that Debtor is not
                                                                        attempting to cram-down
                                                                        Creditor’s mortgage

       3.      Additionally, Debtor objects to the undersigned charging a fee of $750.00 for

preparation and filing of the Proof of Claim. There is a great deal of liability on the part of

attorneys preparing and filing Proofs of Claim for Creditors in bankruptcy actions and the fee is

designed to compensate Creditor’s attorneys for that risk. Again, contrary to Debtor’s assertion

that “…the act of filing a proof of claim in a relatively simple matter…”, there is more involved

than merely filing the proof of claim, as Debtor would lead the Court to believe. Below is a

summary of actions taken to process a proof of claim referral:

                      Event                          Date Completed                  Comment
 Referral Received (Proof of Claim)                    11/26/2018
 Review referral to ensure everything needed to        11/26/2018
 prepare and file Proof of Claim has been
 provided
 Request Escrow Analysis and Payment History            11/26//2018
 Payment History Received and Reviewed                  11/27/2018      Review Payment History to
                                                                        determine items that can be
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                                                                           included in Proof of Claim
 Prepare 410A                                            12/03/2018        Includes manually inserting
                                                                           payment history information into
                                                                           410A form
 Submit draft of Proof of Claim to Creditor for          12/06/2018
 review and preliminary approval
 Final Review of Proof of Claim after Creditor           12/28/2018        Review Proof of Claim form to
 approval and file Proof of Claim                                          ensure all information is correct
                                                                           and matches 410A; review 410A
                                                                           and compare it to payment history,
                                                                           default information, note (to insure
                                                                           it is indorsed properly), mortgage
                                                                           and assignment of mortgage and
                                                                           escrow analysis

       4.       The undersigned attorney has been admitted to the practice of law for more than 26

years and charges an hourly rate of $275.00 per hour. Debtor objects to the undersigned charging

a fee of $150.00 to review Debtor’s Plan herein (which fee is 54% of the undersigned’s hourly

rate, or just over ½ hour of time to perform the tasks listed above). Further, Debtor objects to the

undersigned charging a fee of $750.00 to prepare and file the Proof of Claim herein (which fee is

just under 2.75 hours of time to perform the tasks listed above and bear the liability of any potential

incorrect information or entries). Additionally, Creditor has agreed to the hourly rate of $275.00 per

hour for the firm of Baer & Timberlake. However, much like Bankruptcy Courts have established

an allowable flat fee for attorneys handling debtor cases, Quicken has agreed with Baer &

Timberlake to a flat fee of $150.00 for plan review and $750.00 for preparing and filing the Proof of

Claim. See attached invoices in support of the attorneys’ fees. This amount of fees and fee

structure is the industry standard and is common and generally accepted across the state of

Oklahoma for bankruptcy actions.

       5.       The Note evidencing Debtor’s obligation to Creditor (and attached to Creditor’s

Proof of Claim 1) provides at paragraph 6(E) that Creditor has the right to be paid back by Debtor

for all of its costs and expenses in enforcing the Note. These expenses include, for example,
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reasonable attorneys’ fees. The Mortgage securing the debt provides at paragraph 9 that in legal

proceedings that might significantly affect Creditor’s interst in the Property and/or rights under the

Mortgage (such as a proceeding in bankruptcy…), then Creditor may do and pay whatever is

reasonable or appropriate to protect Creditor’s interest in the Property and rights under the

Mortgage, including paying reasonable attorneys’ fees to protect Creditor’s interest in the Property

and right under the Mortgage, including its secured position in a bankruptcy proceeding. Any

amounts disbursed by Creditor pursuant to paragraph 9 shall become additional debt of Debtor

borrower secured by the Mortgage and shall bear interest at the Note rate from the date of

disbursement.

       6.       In the event that Debtor is correct in her Objection, Debtor should acknowledge

and understand that any amounts not collected against this arrearage will not be subject to

discharge.

       WHEREFORE, PREMISES CONSIDERED, QUICKEN LOANS INC. prays this Court

deny the Motion, determine that Creditor is entitled to the fees set forth in its Post Petition Fee

Notice; and for such further relief as this Court deems appropriate.
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                              QUICKEN LOANS INC.



                 By:       s/ Matthew J. Hudspeth
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                           JIM TIMBERLAKE - #14945
                           Baer Timberlake, P.C.
                           4200 Perimeter Center, Suite 100
                           Oklahoma City, OK 73102
                           Telephone: (405) 842-7722
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                           mhudspeth@baer-timberlake.com
                           Attorney for Creditor
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                                CERTIFICATE OF SERVICE

       I hereby certify that I mailed a true and correct copy of the above and foregoing Response
with postage thereon fully prepaid to the parties listed below on February 12, 2019.

Judith Darlene Snow
1713 Hampton Dr.
Oklahoma City, OK 73115

        The following persons should have received notice of the above and foregoing instrument
on the same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
4600 SE 29th St
Del City, OK 73115


                                    By:         s/ Matthew J. Hudspeth
                                                MATTHEW J. HUDSPETH - #14613
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